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    Complete Items 1,2, and 3.                           A. Signature
    Print your name and address on the reverse
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    so that we can return the card to you.               *                                  ^-5'         •   Addressee
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    or on the front Ifspace permits.
 1. Article Addmjuwtd tn*                                D, Isdetivery address different from Kern 17 • Yes
                                                             If YES, enter delivery address below:       •   No
      MILACRON INC.
      dba CINCINNATI MILACRON
      4165 Half-Acre Road
       Batavia, OH 45103
                                                     3. Service Type                          • PriorftyMan Express®
                                                     • Adult Signature                        • Registered Mall'"
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 2. Article Numlier (Transfer from service label)    • Collect on DeliveryRestricted Delivery • Signature Confirmation'"
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    Complete items1,2, and 3.               -'V*»           A. Signature
    Print your name and address on the reverse                                                           ffS Agent
    so that we can return the card to you.                                                                 •   Addressee

    Attach this card to the back of the malplece,           B. Received by (Prinred NameJ            C. Daleof Deii^^
    or on the front if space permits.                                             '/9
    ArtiriA Arfrirp^vwl to*                                 D. is delivery addressdifferent from item 1? D Ves
                                                               If YES, enter delivery address below:       •   Mo
      MILACRON LLC
     dba CINCINNATI f .iii.ACRON
      4165 Half-Acre Road
      Batavia. OH 45103
                                                        3. Service Type                         • Prionly MaH Express®
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      so that we can return the card to you.        '   "
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  •   Attach this card to the back of the mailp
      or on the front if space permits.
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                                                                     £S* enter delivel/ address below;                 •   No

PHE MILACRON SEVERANCE
 r/o MILACRON LLC, Plan Adm
/0200 Alliance Road, Suite 200
 Cincinnati. OH 45242
                                                            3. Service Type                             • Priority Mall Express
                      mill ill IIII                         Q Adwlt Signature
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     15^0 ^402 SS^D 1274 3201 36

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    Postal Service

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                                         Potter Stewart US Courthouse Room 103
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                                         100 East Fiftli Street
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                                                               A. Signature
 • Complete items 1,2, and 3.
                                                                                                                   • Agent
    Print your name and address on the reverse                 X                                                   •   Addressee
    so that we can return the card to you.
                                                               B. Received Ijy (Printed Name)                C. Date of Delivery
    Attach this card to the back of the mallplece,
    or on the front Ifspace permits.                                               fiBC'
 1, Article Addressed to:                                                                                    17 •      Yes
     MILACRON INC.                                                 ifYES. enter d^'fi                      iw:     •   No

     dba CINCINNATI MILACRON                                                                              °"'Pany
     c/o Corporation Service Company
     50 West Broad Street, Suite 1330                                                     ' 0mil
     Columbus. OH 43215                                                  o.               By
                                                                                           S5f
                                                           3. Service Type                                Prkirity Mail Express®
                                                           G Adult Signature          ^                 n Re^tsiered Mall"*
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    United States        • Sender Please print your name, address, and ZIP+4® In this box*
    Postal Service

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                         fee        Potter Stewart US Courthouse Room i03
                         Cirf       100 East Fiftii Street
                         ^5         Cincinnati. OH 45202
                     tS •i'- Iff,



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 SENDER: COMPLETE THIS SECTION                           COMPLETE THIS SECTION ON DEUVERY
 • Complete items 1, 2. and 3.                           A. Signature
                                                                                                            • Agent
 • Print your name and address on the reverse            X                                                  P Addressee
   so that we can return the card to you.
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 • Attach this card to the back of the mailplece,
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     MILACRON LLC
     dba CINCINNATI MILACRON
     c/o Corporation Ser\'ice Company
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     50 West Broad Street, Suite 1330
     Columbus. OH 43215                                                         6y
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       7Dlb S71D 0001 IISS DMll                                 0)
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                    a--              Potter Stewart U.S. Courthouse Room 103
            !NX
            •p      fA    1          100 East Fifth Street
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            cc
                          I          Cincinnati, OH 45202

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